         Case 1:18-cv-23370-RNS Document 1-1 Entered on FLSD Docket 08/20/2018 Page 1 of 4
(x1 CommonwealthofVirginia                  V.

'

BOND AS CONDITION OF RECOGNIZANCE) By signingthisbond,thedefendantand each personsigning asslzrety agreethat
theyandtheirheirsandassignsowethesum of$1.
                                         5
                                         ..a0
                                            ...
                                              0
                                              ...
                                                0
                                                ...,.
                                                    0...
                                                       0.........tothecotmtyorcityinwhichthecaseisprosecuted.
Thisdebtis:N UNSECURED I)SECURED BY I1CashI1Stu'             etyBailBondsmanI1PropertyBailBondsmanI)OtherSolvent
Saretyties)wlloseabilitytopaythisdebtismeasttredbythevalueofrealorpersonalpropertywhichtheyownandwhofurtherswearor
aff-
   trm thatthevalueofsuchproperty(aftersubtractingdebtsthatareliensagainstthepropertysuchasmortgages,unpaidjudgments,and
unpaidtaxliens)equalsorexceedstheamountofthisbond.Eachpersonwhosignsthisbondagreestothebondtermsandanyattached
applicabletermsareincorporatedbyreference.
         Thedefendantandeachperson who signsthebondasasuretygiveupanyhomestead exemptionasto thedebtofthisbond and
understand thatthecourtmay forcethesaleofAN Y property owned by thedefendantorany stkretyto paythedebtifthedefcndantfails
toobey a11ofthctermsand conditionsoftherecognizance.Eachpersonwhosignsthisbond promisesto keep thetitlcandpossessionof
al1property used to measttrethe ability to paythedebtofthisbond in hisorhername and nottkse suchproperty.aqcollateralforanyloan
ordebttoallow liensagainstsuchproperty whichwouldpreventthepaymentofthedebtofthebond. n etçr         N
                                                                                                       t
                                                                                                       i'
                                                                                                        lsàpd
                                                                                                           1
                                                                                                              conditionsofthe
                                                                                                                                                                    .
recognizanceareincozporatedby reference,and eachpersonwho signstheform agreesto obey a1loftheterrbjand conditionson both
sidesofthisform.Ifthedefendantobeysalloftheconditionslisted intherecognizance,thedebtofthishmd'isvoid.       ,Ifthedefendant
    failstoobeytheconditionofappearanceoftherecognizance,thepeoplewho signedthebond mayberequiredioL œpayth
                                                                                                          k
                                                                                                           e amountofthe                                    ,
                                                                                                                                                                .       ''   ''

bond.                                                                                                                                                          '              '.
                                                                                                                                                                    v             -.     ((
                                                                                                                                                                                          11
                                                                                                                                                                                           9153
                                                                                                                                                                                              -
                                                                                                                                                                                              .
                                                                                                                                                                                              /1.ILa2
                                                                                                                                                                                                    1
                                                                                                                         DFTENDANT
    BM L BONDSMAN INFORM ATION
                                                                                                                                                                             ''
                                                                                                                                                           .                  .
                                                                                                                                                                              $          (sEAL)
                                                                                                          SMNATURE OFBXIL.BONDSMAN                                  '. &




                                                                                                                                                                                          (SEAL)



    (1)check-ifapplicable) Thedefendantisreleésçdintot'
                                                      hecustod.
                                                              y-ofthepérson/organizationnamedbelow uponcompletionofthispart:
    By signihg thispartathecustodian named below â'
                                                  p restotake-custY y ofthedefendantandseethattlledefendantobeysthe conditions
    listed above.Ifthedefendantdisappearsordoçsnot'
                                                  obeyçverpppndiiion,thecustodian promisesto notifythecotu'tatoncc.

                                                                                                                      SISNATIJREoyctiWonM
    IN G HT T O APPEAL:
    Ybuhavethen'   ghtto appealtheamountof,thisbond.You alsohavetherightto appealany condition ofrelease.lfyouwantto appeal,
                . erort
    contactalasvy      hecourtlistedon thetitherssideofthisform.

    ADM ITTA 'NCE     TO BAIL:.Ahe  r,..Iexplâmedth.e.,
                                                        'conditionsnndwarnings
                ..                .
                                                   .                               jycssax j< vaosaazs g)ytyooE                                                     yoxatj:
                                                                                                                                                                          anpavison
    Contained iT1tII: docll
                          m ent,thedefendantand each person sipling assurety
                       .                   * A''.r                               vw*@p*wœp*wwe**'**@@@@*+***@*****@@.@'*******.*@pœ@œ'..*****e*****.***@*@@'*******+***'œ.'œ**@*@*@>*'*1*'*''****'@@***''*
    sworeoraffm ed to fulfilltbe rccogrtlznnceand,ifnny,thebond. Iorderthe         antamcnoxtyoav                            yxOM coa p
    defendantreleasedontheconditionslistedinthisdocument.                            08/10/2018O2.1gA
                                                                                   DATEANDTM E

                                                                                                                    CBR 031G511800003989
    FORM DC-33O(MASTER PAGE 2 OF 2 )10/13
          Case 1:18-cv-23370-RNS Document 1-1 Entered on FLSD Docketl1/
                                                                      08/20/2018 OPage
                                                                      01CC- H0 I :      H S2
                                                                                   vdGtII    of0E4
                                                                                           VWI   î-3qWYOJ

                                                                                                                                                                 JX VCINHJHCIJO FlNnI.VNDIS



                                                                                                                                                    *
                                                                                                                                                     3WPuads!asvaslqi
                                                                                                                                                                    ye
                                                                                                                                                                     ajlq- aA!IIaaaqM Jd'ssau
                                                                                                                                                                                            lppgZullpm
    <JSJVfIpmJu!a'ugqa<ugJoNnoaaq3Vp
              ouwuopsltuvuounoa llno.
                                       ouXpdmtudTsnm I(ç)fptulaogpxdas=s!apddvoyg'   t
                                                                                     irqpg
                                    z!a aq;u!xoddsm IpgIg!(E)jaouosqvxuzu!atlzplaydopuv&j
                                                                                          jklzlyl:ck-e t
                                                                                                       .lmi@!JX'
                                                                                                               tydnJAI:I
                                                                                         , Xvtlzunooom'kàmddvm llk1Ig!(r)
      :                                                                                                                                                                20   -      ''            *'     X''         *'* *''W''
      m xoAaJgqXvtlzIpq 'puvGglas
      .
                                                                                                   aqXvttlIïsuoppuoaptrsXzqom IpgIJI(I) T.
                                                                                                                                         tW
                                                                                                                                          T u ekvu
                                                                                                                                                 tsalgtm a :utvvqkcju q éuut4  '                                                 .
                                                                                                                                                                   .         '.                               ''.
                                                                                                                                                                            ..                                 .




          f
          11
           2
           -
           1
           ,
           .
           1
           -'
            !
            1
            ,
            -'2
              11
               -
               t
               ,
               .
               1
               9
               -
               1'
                1
                -
                ,
                '11
                  '
'

                                                                                  ..'N'
                                                                                      Nx
                                                                                        N.
                                                                             z.           Nx
                                                                          z                X.


                                                                                                      '.                          h.    ..                         .
                                                                                       .

                                                                                               x           X                                                      .         .
                                       'Mppq'
                                            x
                                                 pœq!    !suolTlpttooaq$dlxp.NJ
                                                        '.                        ..
                                                                                    .1A puvzolavZqpq Ix/    '
                                                                                                             o:go aq puvaovad gq$dx qm zonsvJaq).  rng
                                                                                                   .                                    .
    I TcIIslug al'
                 eYs'
                    toXI,
                        U u!SpaddvXI!v
                                   .'- p u V'o SZD  Xt  t i.l
                                                            lwn
                                                             u
                                                             '.   2!u!*J!
                                                                        AJO  I 1 R/   OM#O  I!pIO3NT    r'Z
                                                                                                          JXZJImuXzl1. 1gxjXztlT( jIpElsPIIWSJQPIITI
                                                                        h..               -

           I 'pwxl!p ossvJvpddvm ojllzold''-osl
                                   @t         -al-'-t
                                                    o.
                                                       gpnr
                                                         -'  * jo
                                                                .vn
                                                                  u
                                                                     oo<u
                                                                        '.è Xq
                                                                             -
                                                                             uv  uos
                                                                              .xxxx
                                                                                       w.lXu  vJo.
                                                                                                  J
                                                                                                  x<
                                                                                                     .
                                                                                                     p
                                                                                                     ,pSuvt..p s!aovldJoatlzlsEgpp slqill 'pAoq/pamu        ..
    atu!spueppp :qTuolmoou!aw ddv o;bspuzoad hnlm sJm Allu:lsXq txpbTsno-                tuo.g''àsw lalXtlzJo uoppuoc=s-tSulz    xvqK:  u aq HH U I,%
                                                                b                   ''                             '..
                                                               ,b                  '                                 ''
                                                                                                                      .

          .
                   .
                   x.
                                                               ' .
                                                               .
                                                                                   .                                      .
                                                                                                                          N.  .
                                                                                                                              k
                                                                                                                              '
                                                                                                                                       .%
                                                                                                                                        N
                                                                                                                                        ..
                                                                                                                                        xpXowlcdzooulpuvpattovuvs!sa:aqoIvuoppm ;u!)S!tttlnpuappv j j
                                                                                                                                             .




                         ''                                    '.'
                         , ..' ..                                    ..


                                                       '
                                                                             IVOg/J    -qD   .*' IHHA/I    DXIW W W INV '
                                                                                                                        .IIfRm H Ag . tNJX
               '                                           .
                   .'                                              ..                          :ç.
                                                                          ---
                    $.               ,
                                      '%
                                       .
                                       j
                                                                             ..
                                                                              N>
                                                                                 ..,..  ..,
                                                                                           .z  '    90T-T'
                                                                                                         8I                   IK -I89f-fI1I.
                                                                                                                                           '
                                                                                                                                           I                                                          S86f0000SlW DIf0
                                                                                           ,

                         %                 '
              Jpqmi
                  N
                   lK ?S*C
                        j)                                                                                      I1O!)a3S?POa                             téygg wgaxgpggjujmpxxg)            J;(jm 1N
                             h                 1.                                                                         .
                                                                                                                                                          apoa awpa gjuj:aja           Nujyjaga.jjgsua.jo
                                                                                                                                                                                                        jo
                                                '.
                             h,,k                ,
                                                    .                                                                                                                                           :S Sgtq m vlla
                                 .                  .
                                                    .'
                                 '.                  '.
                                     ç
                                     ..
                                                      h
                                                       '
                                                       t
                                                                                                                                                 'ssa-
                                                                                                                                                     rppz:ullptuw al-
                                                                                                                                                                    m cXtllsulmuoom gttmoop SI @t
                                                                                                                                                                                                llwIIJXJISDDI




                                                                                                                                                                                        elué.
                                                                                                                                                                                            tlagoqspoMuouztlzoa (xj
             Case 1:18-cv-23370-RNS Document 1-1 Entered on FLSD Docket 08/20/2018 Page 3 of 4
*
d
'
                         o                                                                                  t
                                                                                                            Xrl )
                                                                                                                :               co.  -                                                             =,...% :                   C)                                 :
                                                                                                                                                                                                                                                                 .
                         o                          .                                                       CV .'!              r à %'
                                                                                                                                     e.,ë                                                            oI   :                   o                                  .
                                                                                                                                                                                                                                                                 .
                         m
                         rTj
                                               zz
                                              z'                                                          xo          O         /.2
                                                                                                                                  -1 >-
                                                                                                                                     o'                                                                o
                                                                                                                                                                                                       c.1
                                                                                                                                                                                                         1*                                                      .
                                                                                                                                                                                                                                                                 *
                                                                                                                                                                                                                                                                 .
                         c
                         m            '
                                         ./                                                                 -
                                                                                                            . .
                                                                                                              +*u 1:>
                                                                                                            è--
                                                                                                              l                    o                                                                   (
                                                                                                                                                                                                       =p 1:j              w                                     :
                        <        Z                                                             x.           Q 'x                     m                                                                m : l                   (.
                                                                                                                                                                                                                               74                                :
                                                                                                                                                                                                                                                                 :0
                         W                                                                                  t--j AJ
                                                                                                            '     -             r..e ....                                                            ...s :                   >                                  .
                         o *r',.                                                                     vx = o
                                                                                                          '
                                                                                                          :.                    g
                                                                                                                                ' kï                                                                 =
                                                                                                                                                                                                     o:                       o
                                                                                                                                                                                                                              *-
                                                                                                                                                                                                                               '                                 :
                                                                                                                                                                                                                                                                 @>-
                                                                                                 x.
                                                z                                                                                                                                                                                                               :
                         m .'                  '                                                          ''   :                r)       >''**                                                         :
                                                                                                                                                                                                     O :
                                                                                                                                                                                                       :                                                        .
                                                                                                               :
                                                                                                           ,@) :
                                                                                                                 l& '
                                                                                                                    s           Qa                                                                   o     J:                 m
                                                                                                                                                                                                                              D'*                           (D :.
                                                                                                                                                                                                                                                            b- 1.
                         =
                         .
                                                                                                            '
                                                                                                             . z-t  k.          O Ck
                                                                                                                                >                                                                    m     ;
                                                                                                                                                                                                           :                  (7                               :
                                                                                                                                                                                                                                                               e
                                                                                                                *
                                                                                                                :o ' .                                                                               o     :                  W                                @
                         k                                                                                  C.) t1. h
                                                                                                                 .   .
                                                                                                                     ,
                                                                                                                     .          e
                                                                                                                                >*
                                                                                                                                o*' >*
                                                                                                                                    p                                                                m
                                                                                                                                                                                                     *
                                                                                                                                                                                                     .
                                                                                                                                                                                                     1
                                                                                                                                                                                                     1
                                                                                                                                                                                                     :7
                                                                                                                                                                                                      11:
                                                                                                                                                                                                        11
                                                                                                                                                                                                           tt
                                                                                                                                                                                                         ,:j
                                                                                                                                                                                                            :
                                                                                                                                                                                                            s
                                                                                                                                                                                                            1
                                                                                                                                                                                                                              e+                            o
                                                                                                                                                                                                                                                            x. !
                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                               ''
                                                                                                            M :: : 1
                                                                                                                 1   J
                                                                                                                     .          @) ,.a
                                                                                                                                     11
                                                                                                                                      ,:::                                                           c     :
                                                                                                                                                                                                           ;                                                (7:
                                                                                                                                                                                                                                                             .
                                f
                                                                                                            ' :
                                                                                                           '..'
                                                                                                              :
                                                                                                              I
                                                                                                              ;
                                                                                                                .: 4  u
                                                                                                                      #'*)
                                                                                                                    O o
                                                                                                                                                                                                     m
                                                                                                                                                                                                     D:
                                                                                                                                                                                                       :
                                                                                                                                                                                                       l                                                    o.
                                                                                                                                                                                                                                                             *
                                                                                                                                                                                                                                                             *
                                                                                                                                                                                                                                                             .
                                j:                                                                        .    ;.,/             1
                                                                                                                                44
                                                                                                                                 1
                                                                                                                                 .                                                                 ....
                                                                                                                                                                                                   j  ..
                                                                                                                                                                                                       .,:.                                                      .
                                                                                                                                                                                                   mj !
                                                                                                                                                                                                      jj
                                                                                                          ... .
                                                                                                              :,
                                                                                                             ...
                                                                                                               j  .                                                                                                                                              ..
                                                                                                                                                                                                                                                                  1
                                                                                                                        ,.
                                                                                                                         ;
                    !
                    t
                    .           '                                                                            =o..
                                                                                                               1'
                                                                                                               1
                                                                                                               y
                                                                                                               . :              re-
                                                                                                                                  n.l cza                                                                :
                                                                                                                                                                                                         - :                                                     :
                                                                                                                                                                                                                                                                 :
                                                                                                               :.1                                                                                 .       :
                                                                                                                 r)i.
                                                                                                               :1/              .$)
                                                                                                                                  -.:
                                                                                                                                    #)
                                                                                                                                     . ,7::$                                                       1   :
                                                                                                                                                                                                   t1)*t                                                         :
                                                                                                                                                                                                                                                                 :
                                                                                                            -* : 3
                                                                                                               :                (9 1%                                                              --  1
                                                                                                                                                                                                   -''% :                                                        :
                                                                                                                                                                                                                                                                 .
                                                                                                               ,
                                                                                                               :
                                                                                                               :e
                                                                                                               .                R =     Op:                                                        .
                                                                                                                                                                                                   o
                                                                                                                                                                                                   m> r :
                                                                                                                                                                                                        :                                                        .
                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                 .        <
                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                          p
                                                                                                            CL T
                                                                                                               )                        =                                                          = 1
                                                                                                                                                                                                   -
                                                                                                                                                                                                   .   ,                                                         .
                                                                                                                                                                                                                                                                 '         r)
                                                                                                            pl t                rem.l o-                                                            < 1:               e                                         :         o
                                                                                                            Qe..w.t
                                                                                                                  :
                                                                                                                  :M---.....-o- o
                                                                                                                  z
                                                                                                                                                                                                   o   :
                                                                                                                                                                                                   =-..:
                                                                                                                                                                                                       !               >
                                                                                                                                                                                                                       wzdl
                                                                                                                                                                                                                       r
                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                 *
                                                                                                                                                                                                                                                                           =.
                                                                                                                                                                                                                                                                          oo
                                                                                                                                                                                                                                                                           tyz
                                                                                                                  :
                                                                                                                  r
                                                                                                                  *          'e                                                                    o 1
                                                                                                                                                                                                     :                                                           :        *''*
                                                                          ç.l .'.                    a'.'c
                                                                                                     ..             :
                                                                                                                    *                    =                                                          o ;
                                                                                                                                                                                                      :                                                          :        n
                                                                          Q.
                                                                          .
                                                                                                 .       rj         :
                                                                                                                    1                    r)                                                        .- 1                                                          .
                                                                                                                                                                                                                                                                 *        *
                                                                                                                                                                                                                                                                          b.l
                                                                          U
                                                                          p t,'r.'' -
                                                                                    *.''''..
                                                                                           a:
                                                                                            !
                                                                                            o ..-
                                                                                                . ..-
                                                                                                    o.                                                                                              .
                                                                                                                                                                                                    i
                                                                                                                                                                                                    y                                                                      <1
                                                                                           $.
                                                                                           :        W                                                                                               o
                                                                                                                                                                                                   '*
                                                                                                                                                                                                    - :'
                                                                                                                                                                                                    '-',
                                                                                                                                                                                                       :                                                                  -
                                                                                                                                                                                                                                                                          *
                                                                          $ .
                                                                            '       +.     i
                                                                                           ,        y
                                                                                                    C
                                                                                                    -
                                                                                                    %                                                                                              m:                                                                     -I.4
                                                                                  .
                                                                                  .               z,,o
                                                                                                     >d             :@
                                                                                                                    :Q                   e*
                                                                                                                                         rj                                                        M
                                                                                                                                                                                                   w#,
                                                                                                                                                                                                   < :
                                                                                                                                                                                                     I                                                                    ya
                                                                          S    .
                                                                          rz.(.h                .
                                                                                                'zo
                                                                                                 '   t              :                    .
                                                                                                                                         c<                                                        o :
                                                                          oz.c
                                                                          x?
                                                                                                ' Q  p.
                                                                                                      ..
                                                                                                       e.
                                                                                                        w.     :    :                    1..+                                                      w
                                                                                                                                                                                                   *::                                                            Yv
                                                                                                                                                                                                                                                                  f
                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                                  '-j
                                                                            5
                                                                            '
                                                                                           ..
                                                                                                           .;, :
                                                                                                               :
                                                                                                               ka                        j
                                                                                                                                         p:)rz                                                     m It:                                                          p.-..
                                                                                                                                                                                                                                                                  >
                                                                              !                                :
                                                                                                               1
                                                                                                               1<                        e..
                                                                                                                                           ë                                                       gJ  :                   c,.
                                                                                           4                   1 .                                                                                 m   :
                                                                                                                                                                                                       J                                                          -*
                                                                              i.           .
                                                                                                               :œ
                                                                                                               t
                                                                                                               :%                        C7 .'                                                     D *:::
                                                                                                                                                                                                   -
                                                                                                                                                                                                   -                                                              *
                                                                               *'      h > k
                                                                                        k Q I
                                                                                                     1                                 . ,
                                                                                                                                      C)
                                                                                                                                                                                                   o l
                                                                                                                                                                                                   m:a ,
                                                                                                                                                                                                       ,
                                                                                                                                                                                                       :
                                                                                                                                                                                                       '                   >..
                                                                                                                                                                                                                           k                                      o'
                                                                                                                                                                                                                                                                  e'ë
                                                                                                                                                                                                                                                                     .
                                                                              C)..       xw e..w :0
                                                                                           .w.
                                                                                                                                      o
                                                                                                                                      >                                                             n...:
                                                                                                                                                                                                        :                                o
                                                                                                                                                                                                                                         >
                                                                              '@'* h..               :
                                                                                                -..-.'
                                                                                                     '-.. -
                                                                                                     s                                r
                                                                                                                                      nn                                                            s.-j
                                                                                                                                                                                                       .                  =                                       o
                                                                                                     t
                                                                                                     :                                u
                                                                                                                                      =
                                                                                                                                      .                         ,,
                                                                                                                                                                                                   tm. t''               t.d
                                                                              *                            -* :
                                                                                                              j                       C'
                                                                                                                                   '''.
                                                                                                                                      ,                                             ..-.. m ! .'
                                                                                                                                                                                          * l: '
                                                                                                                                                                                               xx' $*                                    ,
                                                                                                                                                                                                                                         ::
                                                                                                                                                                                                                                          1.
                                                                              t'
                                                                               ?1                         ' w..-jC
                                                                                                               ..l
                                                                                                                 .*
                                                                                                                                      Q                    .'                                      m'l::           .q.5 <                  '
                                                                                                           Qa
                                                                                                           . ;   :                                                                                 =1x.â
                                                                                                                                                                                                      ,.,                 -
                                                                                                                                                                                                                       ..o *             e
                                                                                                                                                                                                                                         p:*
                                                                                                                 :  '                    ...                                                       ow ...'
                                                                                                                                                                                                   .
                                                                                                                                                                                                         .               .,.
                                                                                                                                                                                                                           x             ,
                                                                                                                                                                                                                                         .+)                      (7.
                                                                                                                    :                    ::t z                                                     -                       >.            O
                                                                                                                w:.                      o ,.                                                      =oi                    o,'
                                                                                                                                         xV .                                                      < x !                   Z8                                      -'
                                                                                                                    n
                                                                                                                    o                                                                              -
                                                                                                                                                                                                   n: 0
                                                                                                                                                                                                      o ..,               o...4 ,..     .                         >
                                                                                                                                                                                                                                                                  .p- .
                                                                              tzl                                                  s, a                                                            = 0'.
                                                                                                                =M              z.' o                                                              n.                           > - .+..
                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                         ,x     '
                                                                                                                                                                                                                                y'*
                                                                                                                                                                                                                                  1' ...
                                                                                                                                                                                                           .
                                                                                                                                                                                                                         .a
                                                                                                                    -*
                                                                                                                    N
                                                                                                                    e         'z
                                                                                                                             'z               .',;
                                                                                                                                             œ.
                                                                                                                                                                                                   O
                                                                                                                                                                                                   =z
                                                                                                                                                                                                   .
                                                                                                                                                                                                     g.                '.
                                                                                                                                                                                                                        'o
                                                                                                                                                                                                                         -          o
                                                                                                                                                                                                                                    - . '.,D N.
                                                                                                                  l .,...g
                                                                                                                  x                          .'                                                ...
                                                                                                                                                                                                 ' .                        @e*
                                                                                                                                                                                                                           o>              :
                                                                                                                  >'..                   a                                                   ,,. >                                  o     ,'
                                                                                                                                                                                                                                           .                      h
                                                                                                                                                                                                                                                                  --I
                                                                                                                                                                                                                                    .-jr.'. o                     p
                                                                                                                                                                                                   ...
                                                                                                                .ze*'                                                                   .,.                p4z,                              m
                                                                                                                                                                                                                                             e%
                                                                                                                                                                                                               .                                                  -
                                                                                                                N
                                                                                                                .                                                                                          ,                                                      C)
                                                                                                                                                                                                       .                                     ,:


             (q
              :rl
               :h          :I
                           I;I
                             (I
                              $1
                               (
                               ;1
                               :/*
                                 :                          >
                                                            :-
                                                            t
                                                            e
                                                              t)
                                                             lh      :
                                                                     :
                                                                     :
                                                                          :
                                                                          '
                                                                          :
                                                                          1
                                                                                      :
                                                                                      t
                                                                                      :
                                                                                      :
                                                                                                                        k'                                 '                        -'.v '
                                                                                                                                                                         .-. .. .---'
                                                                                                                                                                                             .
                                                                                                                                                                                             '.'               -
                                                                                                                                                                                                               l
                                                                                                                                                                                                               '
                                                                                                                                                                                                               :
                                                                                                                                                                                                               $
                                                                                                                                                                                                                                   y-k
                                                                                                                                                                                                                                     j1
                                                                                                                                                                                                                               p' t:l ;'
                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                        .'
                                                                                                                                                                                                                                     :tht
                                                                                                                                                                                                                                       .'
                                                                                                                                                                                                                                         l 1 : ;:. (.2   j
             >                                                                                                                                                                                                                       :ts.
                                                                                                                                                                                                                                        tl : - (*2j
                        rk =
                           .. jo
                               x                            ;
                                                            2        :
                                                                     :    k
                                                                          :           ;
                                                                                      l                                                                                                                        :
                                                                                                                                                                                                               :              r
                                                                                                                                                                                                                              ,.
                                                                                                                                                                                                                               -
                                                                                                                                                                                                                               '.
                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                w. o.
                                                                                                                                                                                                                                   o..
                                                                                                                                                                                                                                     :?:
                                                                                                                                                                                                                                     ,o .
                                                                                                                                                                                                                                        :    t
                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                             :         x.
         X.                 œ                        g      I
                                                            :       1
                                                                    t 1:  I
                                                                          t O M F3 tx tx                                                                                  m
                                                                                                                                                                          r                   C)           1
                                                                                                                                                                                                           t z
                                                                                                                                                                                                             : .',X o'/ !:R ':t. 1, CJ.t .
                                                                                                                                                                                                             1                                       -.4,
        (-
         m.              o <                        q<
                                                     o      ,
                                                            :
                                                            lt
                                                                    1
                                                                    : ::  .
                                                                          : qA   o
                                                                                 xo W ta: r
                                                                                          j
                                                                                          n
                                                                                          .
                                                                                          a.                                                                              z                   t'Jl         :
                                                                                                                                                                                                           l :
                                                                                                                                                                                                           ,
                                                                                                                                                                                                             t '0Q .. :
                                                                                                                                                                                                             I               :
                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                     :      .
                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                             :.
                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                   1 *'..'.
                                                                                                                                                                                                                                                -ttJ
                                                                                                                                                                                                                                                   J
         ..0.
         p               'H
                         >'
                          - m>
                          i x   o                    .
                                                     o-.)
                                                     s.j
                                                            :
                                                            ::
                                                             t
                                                             :
                                                             :
                                                                      :
                                                                      '
                                                                      ::.
                                                                          r
                                                                          '
                                                                          , î :  a
                                                                                 .
                                                                                 - .o
                                                                                    d  D  =
                                                                                          $
                                                                                          s>                                                                    r'
                                                                                                                                                                .                             r
                                                                                                                                                                                              t
                                                                                                                                                                                              'z
                                                                                                                                                                                               ral         ,
                                                                                                                                                                                                           :
                                                                                                                                                                                                           : :
                                                                                                                                                                                                             '.     /,% @    :w
                                                                                                                                                                                                                              - -   ,:
                                                                                                                                                                                                                                     ,o. . 'i
                                                                                                                                                                                                                                     .- -    tw -. .. ,...
              @.
               )         o
                         X*
                                r
                                p                            :         :  :   5 (m
                                                                                 p o w..                                                                                                      ;h4          : J
                                                                                                                                                                                                             '    o v
                                                                                                                                                                                                                    , e
                                                                                                                                                                                                                      o ''*  . ... ,
                                                                                                                                                                                                                                   x.        :
                           .c o                     el :
                                                     .
                                                    >â :. >.,
                                                            .
                                                            r
                                                            :.
                                                             ..-      $:
                                                                       :  : ee .....>                                                                C)
                                                                                                                                                     o                        p..wt
                                                                                                                                                                                                           : t
                                                                                                                                                                                                           , : m ,. .
                                                                                                                                                                                                           : : rp .   o..+ .H. :    :       :: .''-.
        o
            *            $ Dvx
                        tm .>o o
                                                    rv 1
                                                       :
                                                            :       : :
                                                                    ;
                                                                    : ::N t
                                                                          , p,l **o. U
                                                                                             trl                                                                            -wjpxsskk<--x     t ::    z a...
                                                                                                                                                                                                           :   .'$:          ,
                                                                                                                                                                                                                             lQ -
                                                                                                                                                                                                                             l    1
                                                                                                                                                                                                                                  :.w
                                                                                                                                                                             .....(
                                                                                                                                                                                  v:)
                                                       :            : :   t                                                                                                 -
                                                                                                                                                                                                 t
                                                                                                                                                                                                 : . 1.
                                                                                                                                                                                                 j         d
                                                                                                                                                                                                            :
                                                                                                                                                                                                           r ,
                                                                                                                                                                                                            j
                                                                                                                                                                                                            :    I: ..... :l p> '
                                                                                                                                                                                                                                  l
                                                                                                                                                                                                                                  r
                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                       ..


        r3                  =) o:!                  o
                                                    o  ::
                                                       :           w
                                                                   'l
                                                                    : : t
                                                                        y
                                                                        : :
                                                                   z, : > , j .     o.
                                                                                    m .<                                                             a                                                                          z :
                                                                                                                                                     .x                 .. .--.e t
                                                                                                                                                                        . ,                yj    :
                                                                                                                                                                                                 : w o     .,
                                                                                                                                                                                                           > .. :j,
                                                                                                                                                                                                            ,         .- j   :
                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                  ,     ..

             Q                       mj
                                      w             r
                                                    j
                                                    -f :
                                                       - 4$               :           :                             @@                               y.
                                                                                                                                                      u.             .      ja j       .z ,      1          :
                                                                                                                                                                                                          ,V : :< t
        GV              U* W **'                            : x1
                                                               ,          j j                                                                        w                                ....,k
                                                                                                                                                                                           . j j ..     ' jqzjujo xj
             C)         *. 3>                               :
                                                            l 1
                                                              11
                                                               :
                                                               t          . l
                                                                          ,     k                   $
                                                                                                    :
                                                                                                    84
                                                                                                     .
                                                                                                     :
                                                                                                     )
                                                                                                     14
                                                                                                      )
                                                                                                      :
                                                                                                      .                                                              j
                                                                                                                                                                     .I
                                                                                                                                                                      ,
                                                                                                                                                                      .
                                                                                                                                                                      I,
                                                                                                                                                                       .
                                                                                                                                                                       k%
                                                                                                                                                                        i
                                                                                                                                                                        d'
                                                                                                                                                                         .. 42..,4)/,:j                           :1.....
                                                                                                                                                                                                                        ,.1.
                                                                                                                                                                                                                           1 1
                             >
                           mlO
                                                            .
                                                            : 3
                                                              )I
                                                               :
                                                               :          1
                                                                          j :   :                   9
                                                                                                    w-
                                                                                                     -:                  o
                                                                                                                         g.                          <
                                                                                                                                                     >.               l  .
                                                                                                                                                                          .' -.-.- .--.- .:yj:. 1:
                                                                                                                                                                               ..
                                                                                                                                                                                                 2 g
                                                                                                                                                                                                 I
                                                                                                                                                                                                    lj
                                                                                                                                                                                                    p
                                                                                                                                                                                                     :
                                                                                                                                                                                                     ;j
                                                                                                                                                                                                      b
                                                                                                                                                                                                      :r
                                                                                                                                                                                                       lj
                                                                                                                                                                                                        r
                                                                                                                                                                                                        i
                                                                                                                                                                                                        l 21:.)
                                                                                                                                                                                                           o1, : :r1 .
                                                                                                                                                                                                                   t . a     1- Z
                                                                                                                                                                                                                                  12
                                                                                                                                                                                                                                  1
             >'<          f  e.w                            t
                                                            : :z
                                                            :             l o ::
                                                                          :                         .o
                                                                                                    t                     r                          q               - jay                    ;
                                                                                                                                                                                              ; :: oo.  zy :     ,j .. a :   ;    :
                                                                                                                                                                                                                                  ;
    1                     m op
                          >  ....                           I
                                                            i  :
                                                               :          j
                                                                          : .
                                                                            rzr
                                                                              al:
                                                                                :                    .I
                                                                                                      ..a               ()Q                          w,
                                                                                                                                                      .               I
                                                                                                                                                                     (x            w   :
                                                                                                                                                                                       .!
                                                                                                                                                                                        '
                                                                                                                                                                                        j     :
                                                                                                                                                                                              -  :
                                                                                                                                                                                                 r
                                                                                                                                                                                              : l o<       m     ;
                                                                                                                                                                                                                 : q z
                                                                                                                                                                                                                 ,....1u1   g:u)  :
                                                                                                                                                                                                                                  :
                                                            :
                                                            .
                                                            '       :     t
                                                                         gr
                                                                          ,
                                                                          :' ...
                                                                           ,   (pN                                       t.
                                                                                                                          p                          r.
                                                                                                                                                     k
                                                                                                                                                     o-.
                                                                                                                                                      .                       o                            '
                                                                                                                                                                                                           j       l
                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                   '                     : ch
                                                                                                                                                                                                                                         j   :o              ,
                                                                                                                                                                                                                                           x:,
                                                                                                                                                                                                                                             :               j
                                                                    .
                                     >                              1                                                                                                                        .                                                ya
                                     -                      m
                                                            l'U
                                                              e'd1
                                                                 :- '
                                                                    -' ;
                                                                       I
                                                                       1 C
                                                                         t
                                                                         Tl
                                                                          )l
                                                                           :                                             o                                                    r;                           : 1
                                                                                                                                                                                                             t                      - r
                                                                                                                                                                                                                                      :           :
                                                                                                                                                                                                                                                  ; .
                                                                                                                                                                                                                                                    t.
                                                                                                                                                                                                                                                     -.1
                                                                                                                                                                                                                                                       l
                               Inc
                               = f:                         ,
                                                            1
                                                            :ka q:
                                                                 . )
                                                                   :                  ,
                                                                                      .
                                                                                      :                                  o                        m
                                                                                                                                                  C7                             '
                                                                                                                                                                                 -*                        r
                                                                                                                                                                                                           : :
                                                                                                                                                                                                             1                      g
                                                                                                                                                                                                                                    %e :
                                                                                                                                                                                                                                       1 l
                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                         I '
                                                                                                                                                                                                                                           z
                                                                                                                                                                                                                                           Hk
                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                            t
                               f l$
                               1***
                                   O                        ;
                                                            :
                                                            r
                                                              *
                                                              z
                                                              O.:
                                                                1
                                                                .
                                                                  w                   :
                                                                                      z
                                                                                      :
                                                                                                                         g
                                                                                                                         o
                                                                                                                                                                              t.a ï
                                                                                                                                                                              (JN Q
                                                                                                                                                                                                           :
                                                                                                                                                                                                           1  '
                                                                                                                                                                                                              :
                                                                                                                                                                                                           : :1
                                                                                                                                                                                                                                         l
                                                                                                                                                                                                                                         t
                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                         )
                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                  t
                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                  t
                                                                                                                                                                                                                                                             ;
                                                                                                                                                                                                                                                             l
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                             :
                                     -ti
                                     z .                    I
                                                            -
                                                            ,...
                                                            .
                                                            :       :
                                                                    :
                                                                    :                 k
                                                                                      1                                  =                                      (d
                                                                                                                                                                >4            l21            .H
                                                                                                                                                                                             .              ;
                                                                                                                                                                                                            :
                                                                                                                                                                                                            :      J
                                                                                                                                                                                                                   :
                                                                                                                                                                                                                   ,                     :
                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                         :        t
                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                  .          :
                                                                                                                                                                                                                                                             .
                                                                                      .
                                     O
                                     >                      !
                                                            1       :
                                                                    :                 ;                                  2::$                                   ;>'           >              tzl           ::      t
                                                                                                                                                                                                                   l                     :        ,
                                                                                                                                                                                                                                                  t
                                                                                                                                                                                                                                                  .          ll
                                                                                                                                                                                                                                                             :
                               > **
                                                            '
                                                            .
                                                            :
                                                            l
                                                                    l GA
                                                                    1:
                                                                                      l
                                                                                      :
                                                                                      :                                            Q
                                                                                                                                   c:
                                                                                                                                    r
                                                                                                                                                                #             Q
                                                                                                                                                                              x              G/
                                                                                                                                                                                                           t
                                                                                                                                                                                                           : ,
                                                                                                                                                                                                             l
                                                                                                                                                                                                           : :                          1
                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                         ,        :
                                                                                                                                                                                                                                                  2
                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                             l
                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                              .'           k       :                    t         :          )
                                                                                                                                                                                                                                                             .
                               <                            1       ::(7              1
                                                                                      :                                                                                                                    : :                          ;         :          :
                                                            I
                                                            :
                                                                     :
                                                                     l
                                                                    .,
                                                                          1
                                                                          (
                                                                           :
                                                                          '.'
                                                                            )
                                                                            ..
                                                                             ,
                                                                                      :
                                                                                      :
                                                                                                                                   .
                                                                                                                                   Q
                                                                                                                                   <
                                                                                                                                   f'p
                                                                                                                                                                              >
                                                                                                                                                                              t.
                                                                                                                                                                               A
                                                                                                                                                                                                           : :
                                                                                                                                                                                                           : :
                                                                                                                                                                                                             r
                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                             :
                                                            '
                                                            :
                                                            .
                                                            j       :
                                                                    r
                                                                    -     N.
                                                                          t  .
                                                                             '
                                                                             l        :
                                                                                      ;.                                           o
                                                                                                                                   ..*                                        y                            :
                                                                                                                                                                                                           l :
                                                                                                                                                                                                             t                          1
                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                        :         :
                                                                                                                                                                                                                                                  :          1
                                                                                                                                                                                                                                                             t
                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                             :
                                                            I       ;.v               1                                            ie                                                                      1
                                                                                                                                                                                                           w       j                    .
                                                                                                                                                                                                                                        1         :
                                                                                                                                                                                                                                                  @.         .
                                                                                                                                                                                                                                                             1

                                                                                                                                                                                                                                             >
    4                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                                                            &
                                                                                                                                                                                                                                                                  w( C'Op>,
                                                                                                                                                                                                                                                                                 %
    >                                                                                                                                                                                                                                        >
                                                                                                                                                                                                                                             *                                   1
    H                                                                                                                                                                                                                                        R              %                    on
                                                                                                                                                                                                                                             j*                  ddo: w:
                                                                                                                                                                                                                                    %'
                                                                                                                                                                                                                                     : A'%'nnA'n
                                                                                                                                                                                                                                               -
            Case 1:18-cv-23370-RNS Document 1-1 Entered on FLSD Docket 08/20/2018 Page 4 of 4




                                                        m                                                                                                 m        m
                                                                            '

                                                                                      !                           m
                                                                                                                                                         : k oz
                                                                                                                                                        :z
                                                                                                                                                         Ot Z
                                                                                                                                                            : z
                                                                                                                                                              > :j
                                                                                                                                                                 w
                                                        Q                             !
                                                                                      i
                                                                                      i                 i
                                                                                                        .
                                                                                                        ë kk                                             p  2
                                                        d w
                                                        o :
                                                                                      !
                                                                                      ! <               o t
                                                                                                          : t
                                                        1 %                     mj @
                                                                                j  It                   Iam
                                                                                                          s
                                                                                                          o                                             >0
                                                                                                                                                        8glk
                                                                                                                                                           '
                                                                                                                                                           -'
                                                                                                                                                            x
                                                                                                                                                            Qo:s
                                                                                                                                                               l %k
                                                        u
                                                          !                     5 iR                                                                                                                                                    Q
                                                                                Q     i (
                                                                                      2 .-.
                                                                                        o               :o
                                                                                                         jj                                             88 t 8
                                                                                                                                                        ; 4 :
                                                                                                                                                             z 8m 1
                                                                                                                                                               :
                                                                                                                                                                                                                                        X
          I                                             z :
                                                        & <
                                                                            O
                                                                            -       * ''.''o
                                                                                    -      .01          N Jl %                                                    n o,                       e,               1
                                                                                                                                                                                                                                        Q

                                     ...   .
                                   >) = .un
                                   @
                                  ..                                    ë                        : x               !       !
                                                                                                                           !
                                                                                                                                                !
                                                                                                                                                i
                                                                                                                                                          Q) C>N
                                                                                                                                                          Q
                                                                                                                                                          *) r
                                                                                                                                                                           :
                                                                                                                                                                           i
                      =            tt> =o '
                                          o*
                                           '/                           :
                                                                        i                        i
                                                                                                 ë o
                                                                                                   g:             !j       !                    5        .g
                                                                                                                                                          -: =1I)          i                    r
                      <)
                     .=            =2 g: ..
                                          a to
                                           * '.v...'        'r
                                                             --:        !
                                                                        ë                        ! ox
                                                                                                 E                   1     i
                                                                                                                           i                    2
                                                                                                                                                E         Q                :                    ozz                                           m
t-
                      o:
                      r                j-'=-
                                          .).0,
                                             ;z'
                                               .
                                               +a-,         .
                                                            t.z         ! g        ! jrj                             !!    E                    i         rzJa et..)
                                                                                                                                                               ..
                                                                                                                                                                           i
                                                                                                                                                                           !                  f:t.w)                                ; ab
                                                                                                                                                                                                                                       o
 Q                    =)
                      .                E
                                       !. >1;8
                                             , xx           &
                                                            o. )        !
                                                                        E .kt    '
                                                                                 ;
                                                                                 x !
                                                                                   ! or:                             ë E
                                                                                                                     :                          !        g c
                                                                                                                                                           = ë
                                                                                                                                                             !                                %o
 D
'D
                     $::1
                      rzl
                                       :      ..,..d
                                       : .1! >%
                                       5
                                                            48t.
                                                            o
                                                                        S
                                                                        E
                                                                            J:;l
                                                                            g'
                                                                                 .
                                                                                 X
                                                                                   s .a
                                                                                   i  t!
                                                                                       z                             i
                                                                                                                       !
                                                                                                                     ' E
                                                                                                                       1
                                                                                                                                                E
                                                                                                                                                :
                                                                                                                                                E
                                                                                                                                                         = o !
                                                                                                                                                         <J u 5
                                                                                                                                                         4    1 %
                                                                                                                                                                                              .e-
                                                                                                                                                                                              =Q =r                                 Kj;z
                                                                                                                                                                                                                                    j
ig
 Q
(7
                                       !
                                       i
                                       !
                                                o
                                                i
                                                !m0. .
                                                     =
                                                2 ui v
                                                     o.
                                                            ;
                                                                  !
                                                                        !
                                                                        ' ,-wn -
                                                                        :
                                                                                 O !
                                                                                 ,
                                                                                 6
                                                                                 r
                                                                                 tv
                                                                                   !m o r
                                                                                   E wt
                                                                                        !
                                                                                         O
                                                                                         a
                                                                                            = 'g
                                                                                                        E i
                                                                                                        E !1
                                                                                                        5 5
                                                                                                          :='
                                                                                                               &-). ! 2
                                                                                                                      !
                                                                                                                             =
                                                                                                                             *1 r1â 3
                                                                                                                             :
                                                                                                                             v )o
                                                                                                                                      E
                                                                                                                                      E
                                                                                                                                            Ql
                                                                                                                                             ta
                                                                                                                                            .-
                                                                                                                                            >. b s
                                                                                                                                                   Q m>
                                                                                                                                                         ,
                                                                                                                                                                                    ,
                                                                                                                                                                                                                                    >o
                                                                                                                                                                                                                                     o
                                                                                                                                                                                                                                    xm
                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                     œ;Z
t)                                     E                          !   t- .
                                                                         a      , ...   E   =    o      : Co E  ..    J      +.
                                                                                                                             '   .-   E a =        O *u-,
                                    E
                                    5
                                    :',
                                   ,!
                                            ës ,
                                               ,D
                                                t
                                                <
                                             !,.o
                                            i,=
                                                      t
                                                      (
                                                      *
                                                        i
                                                        .
                                                        .
                                                        -..
                                                      ,...
                                                                  E
                                                                  !
                                                                 .j
                                                                       o
                                                                       .
                                                                       -j
                                                                       m
                                                                       .
                                                                                 o
                                                                                 a
                                                                               r....n E
                                                                                        !
                                                                                        j   orm =
                                                                                             t.z t:
                                                                                        ! m ..x$
                                                                                                   a : l
                                                                                                  h:
                                                                                                        :
                                                                                                        j
                                                                                                       K. !
                                                                                                            q=1 1 f   E'
                                                                                                                      ,
                                                                                                                        .
                                                                                                                          , aoz Qj =>x fo.
                                                                                                                             ;
                                                                                                                             o           a* j C .4M    ;z
                                                                                                                                                   e,a O
                                                                                                                                                       L)
                                                                                                                                                                                                                                    mI
                                                                                                                                                                                                                                    ù E
                                                                                                                                                                                                                                      Q-
                                                                                                                                                                                                                                     zp
                                                                                                                                                                                                                                      u
Z                                   !      .; o       a        z  9    a)               g     1  w
                                                                                                 t
                                                                                                 ;     o  :
                                                                                                          i(    .l    1 x...     =   7  .
                                                                                                                                        0   j   o  m   kv
 .9 o         *                     E .'?  ':. a rd               ! m --4-
                                                                  i             .., ! .t    >x o kv v. !  )'.g        i
                                                                                                                      ! 'g
                                                                                                                         u   .
                                                                                                                             x
                                                                                                                             .
                                                                                                                             3
                                                                                                                             g :   2
                                                                                                                                   : .
                                                                                                                                     a
                                                                                                                                     @
                                                                                                                                     u  g   =,: m
                                                                                                                                                u  O
                                                                                                                                                   c
                                                                                                                                                   >   u
                                                                                                                                                       x                                                                            Qe
                                                                                                                                                                                                                                    1 s:
  tt 'a       +o.                   E
                                    ! I'    !e  aa t   o          !
                                                                  q , '1'X -g ''          .;z a =1) f! y&kM.) JE!...'-tu Ora i     ; 4: x t-o 1) ... (.
t-   .G                             :       !
                                            3.= -     v.s         . ' ya .x x E         ! .ak: 1. . = ! = z:                         = t) o O *. -                                                                                  b
                                                                                                                                                                                                                                    m .a      à
                                                                                                       ; 1 o .' . x ! r=a mgt =g: =- wq (.>.
                                                                                                                             qv    :
                                                                                                                      '
  n o         X                     E 5o 'o x.        .
                                                      .
                                                               <z '    g Q  o .a o i    E Q.     g
                                                                                                 t) .F
 Q =                                                                                                                                                                                                                                   x
 O l$)        s                     1
                                    i , ëo u .- .. s; .                    s m j o. o ,               .= !5D  ,.. K. o ..- m .       = *a. o o  .. .
                                                                                                                                                   5 a                                                                              o qo
                                                                                                                                                                                                                                    v
'= u
 kv Q         é
              z                     .
                                    E ' .
                                        5
                                        .
                                        Y
                                  = . ë.o-  y!
                                             i .o
                                                a   r
                                                    oz *
                                                   :t) ;$z x   '
                                                               <
                                                               a
                                                               s
                                                               ,       .
                                                                       1
                                                                       o::  #   .gw     !
                                                                                        !   so   .
                                                                                                 .
                                                                                                 m
                                                                                                 r
                                                                                                 z..
                                                                                                   )   *
                                                                                                       x
                                                                                                       >  !
                                                                                                          y,,(  o w.o .t  aa
                                                                                                                          Q. *
                                                                                                                             x-. u
                                                                                                                             ..  e.q g .-
                                                                                                                                        a!u &y)mi
                                                                                                                                                m a
                                                                                                                                                o  o <                                                                              Dxœ
                                                                                                                                                                                                                                    7
                                                               o a>x . H   -            5 o o ;r                -
                                                                                                              .H .  .
                                                                                                                    u wq *' > ! ç       xu g zl y      >                                                                              m;
-T o                                            .
                                                ..:
                                                  m     x              z    o: r
                                                                               -n o    s,              1 2y p.
 > ' aal      ;
              z1
              m                   k
                                  Hz    :
                                  : > 2= .  !
                                            E   t
                                                >
                                                . .
                                                    j=  1
                                                        - .
                                                        > o.   n       tu  t
                                                                    o c-nr.m u.-a t- r      R
                                                                                            .         X
                                                                                           :m myx p. i!% .:     k   o
                                                                                                                    c z = o
                                                                                                               c/ ,.a w. tt mj , g    j a j m   .
                                                                                                                                                m
                                                                                                                                                o  r
                                                                                                                                                   o:o o                                                                            :>b
 tM .,(-J
  Q =         d                   +
                                  0. .  u. E
                                        -    !no o  .)=o j     o=   t
                                                                    z .- ; ..    oo
                                                                                 d
                                                                                 t    z..= =,      z zu
                                                                                                     'm E ë    o>  .
                                                                                                                   a
                                                                                                                    i-) 17 = œ '
                                                                                                                        Z    g : s    E
                                                                                                                                      !
                                                                                                                                        *
                                                                                                                                        2X
                                                                                                                                        x
                                                                                                                                        .
                                                                                                                                        '
                                                                                                                                        u   x >x
                                                                                                                                            m
                                                                                                                                            '
                                                                                                                                                h
                                                                                                                                                O* .   O
                                                                                                                                                       g                                                                 7 *,gt
 O zz
  = .
    =m        U
              u                   = .j  r2 !=o=Q. y ., t)
                                            2o oa=o w       ;a.pr.  g
                                                                    o. 0 m     a . .j *- !.a x o .0>
                                                                                 wg   < k,,a .2         :
                                                                                                        5Qv .
                                                                                                        .   0o..;1.t
                                                                                                                 m -
                                                                                                                   zz 2i ot) wol & oo
                                                                                                                                      i
                                                                                                                                      !o    . r- u
                                                                                                                                         &. .Q
                                                                                                                                                   o * o-.                                                                   w
                                                                                                                                                                                                                             %r -
                                                                                                                                                                                                                                @*
                                                                                                                                                                                                                                aI!5
                                                                                                                                                                                                                                   ..qEi
                                                                                                                                                                                                                                       '
              r.-n                u
                                  =-
                                   .
                                   u.0ux..
                                        o w
                                          ox
                                           ..uw
                                              .-..:.
                                              a    x.oa
                                                      oJy yu
                                                           g                            y
                                                                                        o xz,<
                                                                                             ta oax  - .i                                                     .

                                                                                                                                                                                                                             =:<d:
                                                                                                                                                                                                                                 a
                                                                                                                                                                                                                                 sa
                                                                                                                                                                                                                                  moj.é
                                                                                                                                                                                                                                      'a
 l=                                                                                                     gQ  ..-    X
                                                                                                                   vj .
                                                                                                             kj o . ;
                                                                                                              .         2
                                                                                                                        :m    c  t
                                                                                                                                 -  : wj
                                                                                                                                       %-                          .
 N u
   &)         =                    1
                                   x) =x =
                                   o
                                                  o.x rz v= g
                                                            .
                                                             o: .a
                                                                 s. .                      o
                                                                                       w: ,x >
                                                                                                y m,2   6
                                                                                                          .
                                                                                                          g
                                                                                                          0 -      x    i
                                                                                                                           o o
                                                                                                                           +.
                                                                                                                              ..
                                                                                                                              .
                                                                                                                                 yj v
                                                                                                                                 u m.
                                                                                                                                       o                                                                                          m
= 0
@Y
 e v.y                                 = g .< .>a
                                         o
                                               g
                                               x:=. +o t
                                                       a
                                                       gk u e-q .u
                                                                 o.                    m .zm = ,= 'z
                                                                                                        ! #-!, (a c... i
                                                                                                                   -k   E.k.m .
                                                                                                                              ;-
                                                                                                                               :.a .g
                                                                                                                                    .. *>x
                                                                                                                                            .. .
                                                                                                                                                                                                                             j%
                                                                                                                                                                                                                              . xik:j
                                                                                             =Z o E.x
                                                                                                  i E'
1 =o                               .
                                   Q
                                   v
                                   --aa
                                      0.m
                                        -s Bon Q
                                      < r1 oj  (a # u
                                                  r-n
                                                      .zy                            ,.â Q
                                                                                         o =',        vw U u-z'u.
                                                                                                               Q :!u-
                                                                                                                    .
                                                                                                                    uuo .ta> xo mtv
                                                                                                                          ''
                                                                                                                         ..
                                                                                                                               .'
                                                                                                                                                                       .       ..
                                                                                                                                                                               %
                                                                                                                                                                                                                         rx
                                                                                                                                                                                                                          .me
                                                                                                                                                                                                                            m
                                                                                                                                                                                                                            -o,
                                                                                                                                                                                                                              xo
                                                                                                                                                                                                                               , !..
              r- v          e-n                 n                                                                                                   Mn        M                 4M           M         MM M
                                                O o
                                                  = .u
                                                     -                          r'
                                                                                 -n z = '
                                                                                        =
                                                                                u.o ' = u   '.                  MP                                                              t                                              o o w
                                                                                                                                                                                                                             u-a u- aQ      (f m >
=             w-z           .-a                t- Cz o              b''o                 -z                   /c
                                                                                                              w
                                                                                                             //
                                                                                                            /'                                                =                     !
                                                                                                            /                                       >                                                                                                1
                                                                        %+
                                                                         Q-
                                                                         *                                  f
                                                                                                            t                                                 = ,
                                                                                                                                                               1'
                                                                                                                                                                ,'
                                                                        >
                                                                        t
                                                                        i.)
                                                                        . a'a
                                                                            hn                              k
                                                                                                            !:
                                                                                                             ..      !                   !          X
                                                                                                                                                    O
                                                                                                                                                              m
                                                                                                                                                              z
                                    ,!:$*                               Q
                                                                        o 'E' .o                           !:N.Nx !                               z'<                                                              o 1)                 O     .
                                                                                                                                                                                                                  .a tz                 C, e'-       Q
                                     t )                                  * +i..az                          2 h.! q                      !
                                                                                                                                         E  to.-', >
                                     *
                                     Q                                  >ï=
                                                                        = N).mx                         x. y !                           1
                                                                                                                                         i' .
                                                                                                                                           .0       rza                                                            0.
                                                                                                                                                                                                                   g
                                                                                                                                                                                                                  ...
                                                                                                                                                                                                                     .=
                                                                                                                                                                                                                      Ozl               u
                                                                                                                                                                                                                                        mxxe         +7
                                  Q o                                                                       5 !                          !  &
                                                                                                                                            -Y     .-
                                                                                                                                                    .4z'.                                                          r
                                                                                                                                                                                                                   za o
                                                                                                                                                                                                                      w ..
                                                                                                                                                                                                                         = o c( ..-. CR
                                        H.                          g
                                                                    o:'c .c                               ..
                                                                                                           >:'w i :                      1
                                        .v-.                        thll.=, $/1
                                                                    =                                       3 -h-j                       Em v-     .x)                                                            .< m k.xo    to. (Nl
                                                                                                                                                                                                                          m m' .
                                        1                           - 2 .2                                  @ ë                          !.j.w
                                                                                                                                         i   %-e. '
                                                                                                                                                  rra
                                                                                                                                                    o                                                  ,.e.
                                                                                                                                                                                                          ) .
                                                                                                                                                                                                            # x,
                                                                                                                                                                                                               m
                                                                                                                                                                                                               =yx a 'a
                                                                                                                                                                                                                      t
                                                                                                                                                                                                                      Gz'-im''
                                  Y=                            : .1.).o = :.                      ro E
                                                                                                      : @                                 @l
                                                                                                                                          Io em  itt                                                   'Q.. >
                                                                                                                                                                                                            o '    r
                                                                                                                                                                                                                   o
                                                                                                                                                                                                                   z e.
                                                                                                                                                                                                                      A ..s (7q
                                  >=
                                   ,..                          ,
                                                                Qw ..Q. = 1 .'  m-                  ek
                                                                                                    hn ë! !E                                  x- O                         w                       >
                                                                                                                                                                                                   r   r           o e-n'' uw i
                                                                                                                                                                                                                   r               o,ze-d C 9->
     Q                              Y             v....         >
                                                                r
                                                                n   = *O x .     raa               2        '
                                                                                                            !
                                                                                                            !        !
                                                                                                                     !                    !
                                                                                                                                          5g. a
                                                                                                                                              o               +
                                                                                                                                                              r
                                                                                                                                                              .
                                                                                                                                                              za<
                                                                                                                                                                o                                                  oa k..w v
                                                                                                                                                                                                                           .p
                                                                                                                                                                                                                            u <. .='   em t..
                                                                                                                                                                                                                                           wj
     œ                              o             o.            o
                                                                r
                                                                z a 5   'o
                                                                         r  '
                                                                            >o  .x               u tà       : 2                           ëN. (u
                                                                                                                                          i                   .k =                                 >. .
                                                                                                                                                                                                   o   %
                                                                                                                                                                                                       t
                                                                                                                                                                                                       t           w
                                                                                                                                                                                                                   = .r$ +  ='.o
                                                                                                                                                                                                                            u'  .. o.
                                                                                                                                                                                                                                    o'.d'cq ,
     =
                                    x             eh            r. >.ox(  .  ::                  H r&
                                                                                                    z
                                                                                                    va      5
                                                                                                            ë i2                           f:hm
                                                                                                                                          3 o.
                                                                                                                                                    m %o- r1
                                                                                                                                                          o                                       *G) 'Q           r o '- $:4o  e=h   .Q ( x5
                                    o
                                    *'            ,..'
                                                     . ra
                                                       o                r. tu .x en
                                                                                 tt                                  j                    5
                                                                                                                                          l k  k.'. y. * v.                                        g w u           o r ca
                                                                                                                                                                                                                        oa  o .= r ua =ro .-,
                                    Q'
                                  < J
                                    I             rq. -<.
                                                  (7: .=
                                                                        /*xpr   . ag ->x
                                                                        H y 'c 4z .
                                                                                      o. >. 1
                                                                                         t
                                                                                         .- h
                                                                                            ::j
                                                                                         ;z j j                                           E   W4PX.'%o
                                                                                                                                            '<en '
                                                                                                                                                 F*
                                                                                                                                                  ; YQ
                                                                                                                                                    ..    .
                                                                                                                                                                                               rU -4 tav
                                                                                                                                                                                                        .
                                                                                                                                                                                                                  .>
                                                                                                                                                                                                                   .. .ë >'i    o t$
                                                                                                                                                                                                                               ==       ;
                                                                                                                                                                                                                                        t
                                                                                                                                                                                                                                        .u.<' o
                                  r-':è
                                      -
                                      1'          *'
                                                   -d Y                 ''
                                                                         >,+* Q
                                                                              t3 t
                                                                                 r
                                                                                 ')
                                                                                  a=tt              th
                                                                                                     nl 1                                 E ,
                                                                                                                                          ! Jo &                                                           n =o
                                                                                                                                                                                                 2 '.&o-. >(     .2 tg=t: l'oQ ..> t>
                                                                                                                                                                                                                                    œ o
                                                                                                                                                                                                                                      co
                                                                                                                                                ?,
                                                                                                                                                 = r
                                                                                                                                                   o
                                                                                                                                                   4 ;>. .
                                                                                                                                                         Q =o
     =
                                                                                                                                                                                                              (0 =
                                         o:                                                                                               :
                                                                                                                                          E         o rq Q = w                                   o o o o o o o g.g =,
                                          m a
                                            *o
                                             -, '
                                                -no
                                                  wi o
                                                     >
                                                     tu =a
                                                         q.'.r.'x
                                                                rz <
                                                                   opo. ë
                                                                        !
                                                                        E ë
                                                                          i
                                  =
 A                                      ..
                                                                                                                                          ! :
                                                                                                                                            >n o .r
                                                                                                                                                  :.1. o*                                        H
                                                                                                                                                                                               >x =: 1=  - x: = -' o = x.
 d   QJ                                                    .-'
= Q
  O                               >d Q             ..           = o o o
                                                                      QroY                       m '
                                                                                                   -a !2 !l                             o t),-i.t
                                                                                                                                                uwtu,g                                                  G)     ?
                                                                                                                                                                                                               .e d .b. g.
iî$ !t
.                                       =. g                      =;:m
                                                                     .-.,.
                                                                         œ)
                                                                          .uxo . m        : ë                                            +
                                                                                                                                         $
                                                                                                                                         Q
                                                                                                                                          -
                                                                                                                                          ::     r
                                                                                                                                                 t
                                                                                                                                                 ao
                                                                                                                                                'o =
                                                                                                                                                     s.,
                                                                                                                                                       ': o r
                                                                                                                                                        o Q4=
                                                                                                                                                                Qa                             r o
                                                                                                                                                                                                 tl =: =(7 =0,=oj o
                                                                                                                                                                                                                  =
                                                                                                                                                                                                                  m ?u
                                                                                                                                                                                                                     r4 wo
                                                                                                                                                                                                                         w.oz
                                                                                                                                                                                                                           >.(xi
     m                                  +
                                        o*m œ
                                        u Y
                                            >        .. .x <
                                                                >x+o*,-,= o .s o g ,xxxt.-5 I!
                                                                o * *- o
                                                                                             2                                          .
                                                                                                                                        a       .
                                                                                                                                                ,w
                                                                                                                                                 .
                                                                                                                                                 ot .
                                                                                                                                                    r
                                                                                                                                                    -jk.rfa o g                          :
                                                                                                                                                                                         !              t
                                                                                                                                                                                                        < = < A
                                                                                                                                                                                                              .d c
                                                                                                                                                                                                                 o1 u
                                                                                                                                                                                                                    o,...n o
                                                                                                                                                                                                                           o =o r
                                                                                                                                                                                                                                6
 d .c
 F                                  ''
                                     g;z g         b
                                                   = =
                                                     o . -o
                                                         > o w
                                                             -
                                                             -uw
                                                             >xs 'g
                                                                  o. j x
                                                                   Q .z
                                                                      e. Q
                                                                         >x ..
                                                                             E                                                          '&
                                                                                                                                         (
                                                                                                                                         o:
                                                                                                                                           J
                                                                                                                                           )    .-
                                                                                                                                                 $
                                                                                                                                                 :'
                                                                                                                                                  14rq1 <,
                                                                                                                                                          '.*1x
                                                                                                                                                              M,
                                                                                                                                                              P J.
                                                                                                                                                                 4
                                                                                                                                                                 !
                                                                                                                                                                 1
                                                                                                                                                                                         g
                                                                                                                                                                                         iD             x rz x ,,.. .
                                                                                                                                                                                                                    m s      o
                                                                                                                                                                                                        < - x 'x % ..,œ u..w (v
                                                                                                                                                                                                       ... .
                                                                                                                                                                                                                                o
                                                                                                                                                                                                                                                     d cn
=o =*)                            <o:.      0
                                            o> *-19-o .
                                                      =- ow':Xx =g *  Oz.
                                                                        =g u(J ro. r .ctxl
                                                                                        q    'x *
                                                                                         4 m .x o                                                                                        ! o > .'x m xzr..
                                                                                                                                                                                         I               o ,m .
 œ'
 >
 o
   g                              Oà
                                  Z t-
                                     ..wk m.Q <o o
                                                 <o >>
                                                   ow
                                                       t
                                                       za4x$ o o t
                                                                 e o  $z oa > % 5 ,..4.u-i û)
                                                                                          -o :(                                                               XN                         1 y
                                                                                                                                                                                           %-m
                                                                                                                                                                                         g..
                                                                                                                                                                                        ..
                                                                                                                                                                                         iQ
                                                                                                                                                                                             4'-,
                                                                                                                                                                                                .
                                                                                                                                                                                                'jv.o k gywo.. ..,.
                                                                                                                                                                                             i,:M r'M O zr M
                                                                                                                                                                           m                                            ..
<                                 > =              I QM M M                               m y= M                                                                                         E
                                                                                                                                                                                         C Y
                                                                                                                                                                                             w u- .e - =
                                                                                                                                                                                                 .,'
                                  G a*              d = = *                               M V G= GW                                                                                      j - -5.
r
 O                                             = m eO                                        <                                                                                           E     -.. ... r..s g...j
                                                                                                                                                                                               N                  w          w
                                               = = m                                      = <
                                                                                                                                                                                                                                 t# -t'h''''
                                                                                                                                                                                                                                           1*
